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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

JAC’QUANN (ADMIRE)
HARVARD, et al.,
       Plaintiffs,
v.                                                Case No. 4:19-cv-212-AW-MAF
RICKY DIXON, Secretary of Florida
Department of Corrections, et al.,
     Defendants.
_______________________________/
     ORDER DENYING MOTION FOR PARTIAL SUMMARY JUDGMENT

       The Secretary has moved for partial summary judgment as to Plaintiffs’

Eighth Amendment claims. ECF No. 343. He argues that the claims include facial

challenges to FDC’s written policies and that Plaintiffs cannot win under the no-set-

of-circumstances standard typically applicable to facial challenges. He also argues

that because Plaintiffs seek to exclude the Youth and Serious Mental Illness

subclasses from isolation altogether, Plaintiffs needed to seek habeas relief—not

pursue a § 1983 claim. Having considered both sides’ arguments, I now deny the

motion.

                                         I.

       The Secretary first argues that “because Plaintiffs’ position is that the

Confinement Policies [defined to include four provisions of Florida’s Administrative

Code] violate the Eighth Amendment in all applications”—and because the relief

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sought “would apply to all inmates”—the challenge is facial regardless of the label

Plaintiffs use. ECF No. 343 at 15-16. The Secretary correctly notes that Plaintiffs’

precise claims remain unclear. And it is true that Plaintiffs have pointed to some of

the regulations as relevant to their Eighth Amendment claim. But in the end, I cannot

agree with the Secretary that Plaintiffs’ claim (or part of it) is that the Confinement

Policies are facially invalid.

      “As a general matter, courts strongly disfavor facial challenges” because of

their underdeveloped records, risk of anticipating questions of constitutional law,

and risk of interfering with the democratic process. Am. Fed’n of State, Cnty. & Mun.

Emps. Council 79 v. Scott, 717 F.3d 851, 864 (11th Cir. 2013) (citing Wash. State

Grange v. Wash. State Republican Party, 552 U.S. 442, 450-51 (2008)). Thus,

“courts construe a plaintiff’s challenge, if possible, to be as-applied.” Id. And courts

have done so even when plaintiffs designated their claim as a facial challenge. See

e.g., Harrell v. Fla. Bar, 608 F.3d 1241, 1259 (11th Cir. 2010); Jacobs v. Fla. Bar,

50 F.3d 901, 905 & n.17 (11th Cir. 1995); cf. also Citizens United v. Fed. Election

Comm’n, 558 U.S. 310, 331 (2010) (facial challenge preserved by an as-applied

claim where facial “remedies [were] necessary to resolve [the] claim” but discussing

judicial restraint concerns and the absence of a narrower ground for resolution).




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      Here, Plaintiffs disclaim any notion that they challenge the facial validity of

any particular regulation. They challenge various “policies and practices.”1 ECF

No. 309 ¶ 198. They ask the court to “adjudge and declare that the conditions, acts,

omission, policies, and practices of Defendants and their agents, officials, and

employees” violate the Eighth Amendment. Id. ¶ 226. Thus, there is no real dispute

or controversy as to the constitutional validity of the Confinement Policies standing

alone because Plaintiffs do not challenge those policies in isolation. Cf. TransUnion

LLC v. Ramirez, 141 S. Ct. 2190, 2203 (2021) (“Under Article III, federal courts do

not adjudicate hypothetical or abstract disputes. Federal courts do not possess a

roving commission to publicly opine on every legal question.”). Plaintiffs seek to

challenge a combination of FDC’s policies and practices—a combination that

Plaintiffs contend violates the Constitution.

      Finally, the relief Plaintiffs seek does not support construing the claims as

facial claims. Plaintiffs do not seek a declaration that the written policies are invalid

or an injunction prohibiting their enforcement.




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         Plaintiffs are not, as the Secretary argues, judicially estopped from framing
their claim this way because of positions they took in previous filings. See ECF
No. 350 at 4-5 (citing ECF Nos. 52, 54). The Secretary points to no statement in
which Plaintiffs asserted that they challenged only FDC’s written policies—facially
or otherwise.
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                                          II.

      The Secretary next seeks summary judgment as to the Youth and Serious

Mental Illness (SMI) subclass claims, contending those claims are not cognizable

under § 1983 and must be brought as habeas claims. ECF No. 343 at 27-28.2

      This court already rejected a similar argument on a motion to dismiss. See

ECF No. 54 at 18-19. Compare ECF No. 28-1 at 40 (“If Plaintiffs are challenging

the disciplinary decisions that led to their restrictive housing confinement or the

length of the confinement imposed—which appears to be a purpose of the claims—

then those Plaintiffs should have brought a writ for habeas corpus relief and their

present action must be dismissed.”), with ECF No. 343 at 27 (“Plaintiffs seek to

exclude the Youth and SMI subclasses from restrictive housing. However, this type

of relief is only available pursuant to a writ for habeas corpus . . . .” (citations

omitted)). The argument must be rejected here too.

      Plaintiffs’ Eighth Amendment claims challenge the conditions inmates

experience in solitary confinement. Plaintiffs assert that a question in this case is

whether “people with serious mental illness [and young people under 21 years old]

should be excluded from isolation under FDC’s isolation policies and practices to



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        As a preliminary note, the motion addressed class claims, and I have since
denied class certification. ECF No. 419. So I will treat this motion as one targeted to
claims of the named Plaintiffs who would have fallen into each of the proposed
subclasses.
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prevent serious risk of mental and physical harm.” ECF No. 309 ¶¶ 178, 185. In

other words, Plaintiffs’ challenge presents the question of whether the conditions in

solitary confinement (as FDC currently uses it) are too extreme for youth and those

with mental illness to square with the Eighth Amendment. This question does not

transform the Eighth Amendment claim into one challenging “the fact or duration of

[their] confinement,” where habeas is the exclusive remedy. Heck v. Humphrey, 512

U.S. 477, 481 (1994). The claims are properly understood as being about “the

‘circumstances of [] confinement’ but not the validity of [the] conviction and/or

sentence.” Hutcherson v. Riley, 468 F.3d 750, 754 (11th Cir. 2006) (quoting Hill v.

McDonough, 547 U.S. 573, 579 (2006)); see also Nance v. Ward, 142 S. Ct. 2214,

2224 (2022) (“suits can be brought under § 1983 [when] . . . they attack not the

validity of a conviction or sentence, but only a way of implementing the sentence.

(They concern, in other words, how the prescribed incarceration is being carried

out.)”).

       The Secretary cites Banks v. Jones, to support his argument that habeas was

the appropriate vehicle for these claims. ECF No. 343 at 27 (citing 232 So. 3d 963,

966 (Fla. 2017)). But Banks does not help. For one, it did not deal with § 1983 or

federal habeas. Instead, the Florida Supreme Court simply held that an inmate could

use habeas (rather than mandamus) to challenge the decision to place him in isolation

because inmates “may have a limited liberty interest in being housed with the general

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population.” 232 So. 3d at 966. Here, Plaintiffs do not challenge disciplinary

decisions that placed them in isolation (or will later place them in isolation)—or

determinations about how long they would remain in isolation. Thus, it is not the

fact of Plaintiffs’ placement in isolation (or the sufficiency of the process used to

place them there) that is at issue here—it is the constitutionality of the conditions

Plaintiffs face while in isolation.3

      In sum, these are not habeas claims that were inappropriately brought under

§ 1983, and summary judgment is not warranted.

      The motion (ECF No. 343) is DENIED.

      SO ORDERED on July 27, 2022.

                                       s/ Allen Winsor
                                       United States District Judge




      3
          In unpublished decisions, the Eleventh Circuit has drawn similar
conclusions. See Melendez v. Sec’y, Fla. Dep’t of Corr., 2022 WL 1124753, at *20
(11th Cir. Apr. 15, 2022) (finding “that § 1983 [was] a proper vehicle for the Eighth
Amendment claim” about confinement and did not “result in altering the legality or
duration of Melendez’s term of confinement” even where the relief sought involved
release from confinement); Daker v. Warden, 805 F. App’x 648, 650-51 (11th Cir.
2020) (concluding that “claim[] [] that [inmate] was denied adequate food and
medical care and was exposed to unsanitary conditions” while in disciplinary
segregation was only cognizable under § 1983 while procedural due process claim
about disciplinary segregation placement could be brought under habeas).
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